1A
 101-7-TDR
 /2009
 /2010
 2ems Inc.
                                                UNITED STATES BANKRUPTCY COURT
                                                      DISTRICT OF ARIZONA
                                                        PHOENIX DIVISION


              In re:                                            §
                                                                §
              LINDSEY HARDISON                                  §      Case No. 2:14-bk-01152-EPB
                                                                §
                                  Debtor                        §

                              CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                              REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                              ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

                      DAVID A. BIRDSELL, TRUSTEE, chapter 7 trustee, submits this Final Account,
              Certification that the Estate has been Fully Administered and Application to be Discharged.

                      1) All funds on hand have been distributed in accordance with the Trustee’s Final Report
              and, if applicable, any order of the Court modifying the Final Report. The case is fully
              administered and all assets and funds which have come under the trustee’s control in this case
              have been properly accounted for as provided by law. The trustee hereby requests to be
              discharged from further duties as a trustee.

                     2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
              discharged without payment, and expenses of administration is provided below:


              Assets Abandoned: 267,353.00                             Assets Exempt: 151,820.27
              (Without deducting any secured claims)

              Total Distributions to Claimants: 0.00                   Claims Discharged
                                                                       Without Payment: 403,166.92

              Total Expenses of Administration: 3,300.53


                      3) Total gross receipts of $ 3,300.53 (see Exhibit 1), minus funds paid to the debtor and
              third parties of $ 0.00 (see Exhibit 2), yielded net receipts of $ 3,300.53 from the liquidation of
              the property of the estate, which was distributed as follows:




             Case 2:14-bk-01152-EPB
         UST Form 101-7-TDR (10/1/2010) (Page: 1)
                                                    Doc 51   Filed 10/24/17   Entered 10/24/17 09:45:43     Desc
                                                                Page 1 of 9
                                                  CLAIMS           CLAIMS                 CLAIMS                 CLAIMS
                                                SCHEDULED         ASSERTED               ALLOWED                  PAID



SECURED CLAIMS
(from Exhibit 3)                                   $ 16,000.00               $ 0.00                $ 0.00                   $ 0.00

PRIORITY CLAIMS:
  CHAPTER 7 ADMIN. FEES
  AND CHARGES
  (from Exhibit 4)                                         NA              4,969.25             3,300.53                 3,300.53

PRIOR CHAPTER
  ADMIN. FEES AND
  CHARGES (from Exhibit 5)                                 NA                   NA                   NA                       NA

  PRIORITY UNSECURED
  CLAIMS (from Exhibit 6)                                  NA                   NA                   NA                       NA

GENERAL UNSECURED
CLAIMS (from Exhibit 7)                             387,210.00            19,663.92            19,663.92                      0.00

TOTAL DISBURSEMENTS                               $ 403,210.00        $ 24,633.17            $ 22,964.45                $ 3,300.53


                  4) This case was originally filed under chapter 7 on 01/29/2014 . The case was pending
          for 44 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to
          the United States Trustee.

                  6) An individual estate property record and report showing the final accounting of the
          assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for each
          estate bank account, showing the final accounting of the receipts and disbursements of estate
          funds is attached as Exhibit 9.

                 Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
          foregoing report is true and correct.

          Dated: 09/20/2017                        By:/s/DAVID A. BIRDSELL, TRUSTEE
                                                                          Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. § 1320.4(a)(2) applies.




        Case 2:14-bk-01152-EPB
     UST Form 101-7-TDR (10/1/2010) (Page: 2)
                                                Doc 51   Filed 10/24/17     Entered 10/24/17 09:45:43         Desc
                                                            Page 2 of 9
                                                              EXHIBITS TO
                                                            FINAL ACCOUNT


             EXHIBIT 1 – GROSS RECEIPTS

                            DESCRIPTION                                    UNIFORM                                          $ AMOUNT
                                                                          TRAN. CODE1                                       RECEIVED

              2013 TAX REFUNDS                                               1224-000                                                 374.00

    2014 TAX REFUNDS (ESTATE'S SHARE)                                        1224-000                                               2,926.53

TOTAL GROSS RECEIPTS                                                                                                               $ 3,300.53
1
 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


             EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                    PAYEE                                       DESCRIPTION                            UNIFORM              $ AMOUNT
                                                                                                      TRAN. CODE               PAID

NA                                                                                                       NA                              NA

TOTAL FUNDS PAID TO DEBTOR &                                                                                                            $ NA
THIRD PARTIES


             EXHIBIT 3 – SECURED CLAIMS

                                                  UNIFORM       CLAIMS
                                                                                    CLAIMS                CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.     SCHEDULED                                                       CLAIMS PAID
                                                                                   ASSERTED              ALLOWED
                                                   CODE     (from Form 6D)

              DESERT SCHOOLS
              FEDERAL                                               16,000.00                  NA                    NA                  0.00

TOTAL SECURED CLAIMS                                              $ 16,000.00                $ 0.00                $ 0.00              $ 0.00


             EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES




          Case 2:14-bk-01152-EPB
       UST Form 101-7-TDR (10/1/2010) (Page: 3)
                                                   Doc 51    Filed 10/24/17        Entered 10/24/17 09:45:43                Desc
                                                                Page 3 of 9
                                          UNIFORM
                                                             CLAIMS              CLAIMS             CLAIMS
               PAYEE                       TRAN.                                                                    CLAIMS PAID
                                                           SCHEDULED            ASSERTED           ALLOWED
                                           CODE

DAVID A. BIRDSELL                          2100-000                    NA                825.13          825.13               825.13


DAVID A. BIRDSELL                          2200-000                    NA                143.48          143.48               143.48


Bank of Kansas City                        2600-000                    NA                 37.78           37.78                37.78


ADAM NACH                                  3210-000                    NA              3,945.50        2,276.78             2,276.78


ADAM NACH                                  3220-000                    NA                 17.36           17.36                17.36

TOTAL CHAPTER 7 ADMIN. FEES                                           $ NA           $ 4,969.25       $ 3,300.53           $ 3,300.53
AND CHARGES



            EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                                          UNIFORM
                                                             CLAIMS              CLAIMS             CLAIMS
               PAYEE                       TRAN.                                                                    CLAIMS PAID
                                                           SCHEDULED            ASSERTED           ALLOWED
                                           CODE

NA                                               NA                    NA                   NA               NA                  NA

TOTAL PRIOR CHAPTER ADMIN.                                            $ NA                $ NA             $ NA                 $ NA
FEES AND CHARGES



            EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

                                                                 CLAIMS            CLAIMS
                                                 UNIFORM
                                                               SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.              CLAIMANT                   TRAN.                                                              CLAIMS PAID
                                                                (from Form      (from Proofs of    ALLOWED
                                                  CODE
                                                                    6E)             Claim)

NA           NA                                       NA                 NA                   NA              NA                 NA

TOTAL PRIORITY UNSECURED                                                $ NA                $ NA             $ NA               $ NA
CLAIMS




         Case 2:14-bk-01152-EPB
      UST Form 101-7-TDR (10/1/2010) (Page: 4)
                                                      Doc 51   Filed 10/24/17    Entered 10/24/17 09:45:43          Desc
                                                                  Page 4 of 9
            EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                             CLAIMS             CLAIMS
                                                UNIFORM
                                                           SCHEDULED           ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                            CLAIMS PAID
                                                            (from Form       (from Proofs of     ALLOWED
                                                 CODE
                                                                6F)              Claim)

            Bank Of America                                         620.00                 NA              NA              0.00


            Bureau Of Medical
            Economics                                               486.00                 NA              NA              0.00


            Chase                                                 8,547.00                 NA              NA              0.00


            Harris N.a.                                        132,277.00                  NA              NA              0.00


            Seterus Inc                                        225,573.00                  NA              NA              0.00


            CAPITAL RECOVERY V,
3           LLC                                 7100-000            715.00              715.96         715.96              0.00


1           DISCOVER BANK                       7100-000            704.00              704.77         704.77              0.00


            PYOD, LLC Its Successors
2           And Assigns As Assignee             7100-000         10,327.00          10,327.01       10,327.01              0.00


            WELLS FARGO CARD
4           SERVICES                            7100-000          7,961.00            7,916.18        7,916.18             0.00

TOTAL GENERAL UNSECURED                                       $ 387,210.00        $ 19,663.92      $ 19,663.92            $ 0.00
CLAIMS




        Case 2:14-bk-01152-EPB
     UST Form 101-7-TDR (10/1/2010) (Page: 5)
                                                 Doc 51    Filed 10/24/17     Entered 10/24/17 09:45:43          Desc
                                                              Page 5 of 9
                                                                                                                                                                                                       Page:       1

                                                                                           FORM 1
                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                        ASSET CASES
                                                                                                                                                                                                           Exhibit 8
Case No:              14-01152                         EPB            Judge:        Eddward P. Ballinger Jr.                     Trustee Name:                      DAVID A. BIRDSELL, TRUSTEE
Case Name:            LINDSEY HARDISON                                                                                           Date Filed (f) or Converted (c):   01/29/2014 (f)
                                                                                                                                 341(a) Meeting Date:               03/06/2014
For Period Ending:    09/20/2017                                                                                                 Claims Bar Date:                   11/02/2015


                                   1                                                2                           3                             4                          5                             6

                         Asset Description                                       Petition/                Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                          Unscheduled            (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                                 Values                Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                           Exemptions,                                                                               Assets
                                                                                                         and Other Costs)

  1. 7732 E. ALBANTY ST. #52 MESA AZ                                                     200,927.00                       0.00                                                       0.00                        FA
  2. CASH IN BANKS                                                                           220.27                       0.00                                                       0.00                        FA
  3. HOUSEHOLDS                                                                            1,000.00                       0.00                                                       0.00                        FA
  4. BOOKS                                                                                   100.00                       0.00                                                       0.00                        FA
  5. APPAREL                                                                                 500.00                       0.00                                                       0.00                        FA
  6. COSTUME JEWELRY                                                                          25.00                       0.00                                                       0.00                        FA
  7. 2012 VW                                                                              11,401.00                       0.00                                                       0.00                        FA
  8. 2013 TAX REFUNDS                            (u)                                           0.00                       0.00                                                    374.00                         FA
  9. 1319 E. HALIFAX ST MESA AZ                                                          205,000.00                       0.00                                                       0.00                        FA
 10. 2014 TAX REFUNDS (ESTATE'S SHARE) (u)                                                     0.00                  2,926.53                                                 2,926.53                           FA


                                                                                                                                                                                  Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                     $419,173.27                 $2,926.53                                                $3,300.53                         $0.00
                                                                                                                                                                                  (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

  TRUSTEE HAS FILED HIS FINAL REPORT WITH THE UST AND IS NOW PENDING THEIR APPROVAL




  Initial Projected Date of Final Report (TFR): 12/31/2015            Current Projected Date of Final Report (TFR): 09/30/2016




                                       Case 2:14-bk-01152-EPB
      UST Form 101-7-TDR (10/1/2010) (Page: 6)
                                                                                Doc 51         Filed 10/24/17           Entered 10/24/17 09:45:43                    Desc
                                                                                                  Page 6 of 9
                                                                                                                                                                                                     Page:           1

                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 14-01152                                                                                               Trustee Name: DAVID A. BIRDSELL, TRUSTEE                                   Exhibit 9
      Case Name: LINDSEY HARDISON                                                                                            Bank Name: BOK Financial
                                                                                                                    Account Number/CD#: XXXXXX1482
                                                                                                                                             Checking
  Taxpayer ID No: XX-XXX5701                                                                                Blanket Bond (per case limit): $29,161,778.00
For Period Ending: 09/20/2017                                                                               Separate Bond (if applicable):


       1                2                               3                                              4                                                     5                    6                     7

Transaction Date    Check or                Paid To / Received From                        Description of Transaction               Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                            ($)
   07/24/15             8         STATE OF AZ                               2014 STATE TAX REFUNDS                                   1224-000                    $374.00                                    $374.00

   01/19/16             10        ERIC ESKEY                                2014 TAX REFUNDS                                         1224-000                 $2,926.53                                  $3,300.53
                                                                            (ESTATE'S SHARE)
   02/29/16                       Bank of Kansas City                       Bank Service Fee under 11                                2600-000                                           $5.72            $3,294.81
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   03/31/16                       Bank of Kansas City                       Bank Service Fee under 11                                2600-000                                           $6.13            $3,288.68
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   04/29/16                       Bank of Kansas City                       Bank Service Fee under 11                                2600-000                                           $6.46            $3,282.22
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   05/31/16                       Bank of Kansas City                       Bank Service Fee under 11                                2600-000                                           $6.67            $3,275.55
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   06/30/16                       Bank of Kansas City                       Bank Service Fee under 11                                2600-000                                           $6.44            $3,269.11
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   07/29/16                       Bank of Kansas City                       Bank Service Fee under 11                                2600-000                                           $6.36            $3,262.75
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   06/08/17            101        DAVID A. BIRDSELL                         Distribution                                                                                              $968.61            $2,294.14
                                  216 N. CENTER
                                  MESA, AZ. 85201
                                  DAVID A. BIRDSELL                         Final distribution representing a           ($825.13)    2100-000
                                                                            payment of 100.00 % per court
                                                                            order.
                                  DAVID A. BIRDSELL                         Final distribution representing a           ($143.48)    2200-000
                                                                            payment of 100.00 % per court
                                                                            order.
   06/08/17            102        ADAM NACH                                 Distribution                                                                                           $2,294.14                  $0.00
                                  C/O Lane & Nach, P.C.
                                  2001 E Campbell Ave Ste 103
                                  PHOENIX, AZ 85016-5573
                                  ADAM NACH                                 Final distribution representing a            ($17.36)    3220-000
                                                                            payment of 100.00 % per court
                                                                            order.

                                    Case 2:14-bk-01152-EPB
        UST Form 101-7-TDR (10/1/2010) (Page: 7)
                                                                            Doc Page
                                                                                51 Subtotals:
                                                                                     Filed 10/24/17                                            $3,300.53
                                                                                                                        Entered 10/24/17 09:45:43     Desc                         $3,300.53
                                                                                        Page 7 of 9
                                                                                                                                                                                                     Page:           2

                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 14-01152                                                                                                 Trustee Name: DAVID A. BIRDSELL, TRUSTEE                                 Exhibit 9
      Case Name: LINDSEY HARDISON                                                                                              Bank Name: BOK Financial
                                                                                                                      Account Number/CD#: XXXXXX1482
                                                                                                                                              Checking
  Taxpayer ID No: XX-XXX5701                                                                               Blanket Bond (per case limit): $29,161,778.00
For Period Ending: 09/20/2017                                                                              Separate Bond (if applicable):


       1                2                             3                                               4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                       Description of Transaction                  Uniform Tran.      Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                             Code                                                          ($)
                                  ADAM NACH                                 Final distribution representing a           ($2,276.78)    3210-000
                                                                            payment of 100.00 % per court
                                                                            order.


                                                                                                              COLUMN TOTALS                                    $3,300.53           $3,300.53
                                                                                                                      Less: Bank Transfers/CD's                    $0.00                $0.00
                                                                                                                Subtotal                                       $3,300.53           $3,300.53
                                                                                                                      Less: Payments to Debtors                    $0.00                $0.00
                                                                                                                Net                                            $3,300.53           $3,300.53




                                    Case 2:14-bk-01152-EPB
        UST Form 101-7-TDR (10/1/2010) (Page: 8)
                                                                            Doc Page
                                                                                51 Subtotals:
                                                                                     Filed 10/24/17                        Entered 10/24/17 09:45:43 $0.00
                                                                                                                                                        Desc                            $0.00
                                                                                        Page 8 of 9
                                                                                                                                                           Page:     3




                                                                                                                                                            Exhibit 9
                                                                                       TOTAL OF ALL ACCOUNTS
                                                                                                                                       NET             ACCOUNT
                                                                                                     NET DEPOSITS       DISBURSEMENTS                   BALANCE
                                           XXXXXX1482 - Checking                                           $3,300.53              $3,300.53                 $0.00
                                                                                                           $3,300.53              $3,300.53                 $0.00

                                                                                                   (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                           transfers)            to debtors)
                                           Total Allocation Receipts:                     $0.00
                                           Total Net Deposits:                         $3,300.53
                                           Total Gross Receipts:                       $3,300.53




                            Case 2:14-bk-01152-EPB
UST Form 101-7-TDR (10/1/2010) (Page: 9)
                                                             Doc Page
                                                                 51 Subtotals:
                                                                      Filed 10/24/17    Entered 10/24/17 09:45:43 $0.00
                                                                                                                     Desc                      $0.00
                                                                         Page 9 of 9
